Case 1:09-cr-00663-R.]D-SI\/|G Document 73 Filed 05/02/19l Page 1 of 7 Page|D #: 250

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April 8, 2019
Redacted for Public Filigg

The Honorable Raymond J. Dearie
United States District Court
Eastern District ofNeW York

225 Cadman Plaza East

Brooklyn, New York l 1201

Re: United States v. Naiibullah Zazi
Criminal Docket No. 09-663 §S-l[ |RJD!

Dear ludge Dearie:

This letter is respectfully submitted on behalf of the defendant Najibullah Zazi,
who is scheduled to appear before Your Honor April 23, 2019, to join the Government’s
request for a downward departure of his sentence, due to his comprehensive and crucial
cooperation With the Government, which resulted in the successful prosecution of one of
his co-cons irators, other char ed individuals, testimony at trial(s),

  
 

 

providing information the Government only became aware of as a
result of his cooperation and his agreeing to remain available to continue to cooperate
even after he is sentenced if the government so desires. E United States Sentencing
Guidelines (“U.S.S.G.”) 5K1.1. We enclose the following for the Court’s consideration in

connection With Mr. Najibullah Zazi’s sentencin : Govemment’s letter ursuant to
section 5Kl .l (Exhibit A);

BACKGROUND
On February 22, 2010 Mr. Zazi plead guilty pursuant to a Cooperation Agreement

to all counts of a Superseding Information. See government letter pages 1-2 I. Ot`fense
Conduct and and PreSentence Report (PSR) paragraph 1-4.

5 Kl .l DOWNWARD DEPARTURE

Case 1:09-cr-00663-R.]D-SI\/|G Document 73 Filed 05/02/19 Page 2 of 7 Page|D #: 251
STAMPuR & ROTH

The United States Sentencing Guidelines strongly encourage a downward
departure when a defendant provides “substantial assistance to authorities...in the
investigation or prosecution of another person who has committed an offense.” U.S.S.G.
SKl .1 (1997) §e§ gls_o U.S. v. Maier, 975 F.2d 944, 948 (2d Cir. 1992). In determining
the appropriate sentence in light of the defendant’s cooperation, the court is encouraged,
but not limited to, the following consideration:

(l) The significance and usefulness of the defendant’s assistance; (2) the
truthfulness, completeness, and reliability of any information or testimony provided by
the defendant; (3) the nature and extent of the defendant’s assistance; (4) any danger or
risk of injury to the defendant or his family; (5) the timeliness of the defendant’s
assistance U.S.S.G. 5Kl .l (a). Furthermore, “substantial Weight” should be given to the
Government’s evaluation of the extent of the defendant’s assistancel U.S.S.G. 5K1.1
Application Note 3.

The Government’s February 15, 2019 5K1.1 25-page letter (Exhibit A) analyzes
and meticulously spells out a multitude of factors why Mr. Zazi is entitled to
consideration for a significant downward departure. “As detailed above in section IV of
this letter ‘the nature and extent of ZaZi’s assistance has been extraordinary”’ (Gov’t
letter page 22).

IMPORTANCE

The importance of Mr. Najibullah Zazi’s cooperation cannot be overstated. The
Government notes “Over the past eight years, Zazi has provided extraordinary
cooperationJ meeting with the government more than one-hundred (100) times, viewing
hundreds of photographs, and providing information that assisted law enforcement
officials in a number of different investigations even where Zazi did not personally know
the sub`ects of those investi ations. . .

  

 

Case 1:09-cr-00663-R.]D-SI\/|G Document 73 Filed O5/O2/19 Page 3 of 7 Page|D #: 252

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TRUTHFULNES S/'l`ll\/IELINE S S

Zazi began cooperating with the government on February 3, 20l0, and was
extensively debriefed by the FBI for 14 days before pleading guilty on February 22,
2010.

The truthfulness of the information Zazi provided was corroborated by numerous
sources. D::_ U.S.S.G. § 5Kl.l(a)(2)

“Once Zazi decided to cooperate in February 2010, he gave the government his
full, complete cooperation He proffered at great length about every aspect of his conduct
without minimizing his actions, nor were there any areas of questioning that Zazi refused
to address. His cooperation including implicating his friends (Ahmedzay and
Medunjanin) in terrorism crimes as Well as telling law enforcement about various acts by
Zazi’s own family members . .” (Gov’t letter page 12)

As the government points out at the trial of Adis Medunjanin in 2012 before the
Honorable John Gleeson his testimony was critical, powerful and compelling “Notably,
reflecting the difficulty Zazi had testifying against a close friend, Zazi broke down in
tears. . .” (Gov’t letter page 16)

Mr. Zazi pleaded guilty approximately two months before his co-conspirator
Zarein Ahmedzay began cooperating There is no doubt that Zazi’s guilty plea played a
role in encouraging Mr. Ahmedzay to also cooperate with the govermnent.

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Case 1:09-cr-00663-R.]D-SI\/|G Document 73 Filed O5/O2/19 Page 4 of 7 Page|D #: 253

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“Zazi also continued to provide information in a timely manner as new issues and
questions arose during the course of his cooperation, and to prepare for and testify at
multiple trials.” (Gov’t letter page 23)

ACCEPTANCE OF R_ESPONSIBILITY

From his initial meeting with the Government Mr. Zazi never downplayed his
role(s) in any criminal activity. Mr. Zazi never hesitated to fully describe his own
criminal conduct and accept responsibility for his actions.

DANGER / RETALIATION

“Zazi’s assistance came in the face of Substantial potential danger to himself and
his family. U.S.S.G. §5Kl.l(a)(4). Terrorist organizations such as al-Qaeda have
publicized the fact that they may target individuals who betray or cooperate against them.
By aligning himself With the govermnent against al-Qaeda, Zazi assumed such a risk.

  
  
 

 

THE DEFENDANT

Mr. Zazi is now 33 years old.

 

Mr. Zazi’s father eventually left the family and went to , and then to

the United States.

  
 

When he was approximately 14 years old his family immigrated to the United
States and joined his father.

 

Case 1:09-cr-00663-R.]D-SI\/|G Document 73 Filed O5/O2/19 Page 5 of 7 Page|D #: 254

STAMPUR & F\’o'rl-l

Prior to his arrest in September 2009, he had worked almost continuously ata
variety of differentjobs. He was an airport,shuttle driver, food truck vendor, grocery
store clerk and cashier at a fast-food restaurant

Mr. Zazi has never used drugs or consumed alcohol.

Mr. Najibullah Zazi has been incarcerated over 9 1/2 years.

“According to a copy of a Bureau of Prisons (BOP) Progress Report, dated
August l, 2018, the defendant has made`an overall positive adjustment to incarceration

His work assignments have included Unit Orderly and Food Services work details, and he
has received outstanding evaluations from his supervisors

    

l\/lR. ZAZI’S lNVOLVEl\/[ENT AND LETTER

l-low does one explain the “how or why” someone who was in the position Mr.
Zazi was, involving himself in this “terrorist activity” resulting in the charges he stands
convicted of.

l have been representing l\/lr. Zazi for almost 10 years. The man he is today is
totally different than the one l met in 2010.

His decision to cooperate with the government appeared to signify a new
beginning for him and has definitely evinced a transformation

However, as a result of his cooperation he has lost many, if not all things that
comprised a significant portion of his prior life.

His letter _ is poignant, informative and revealing in who he “was” but
most importantly who he “is” today.

 

Case 1:09-cr-00663-R.]D-SI\/|G Document 73 Filed O5/O2/19 Page 6 of 7 Page|D #: 255
STAMPuR & F\’o'rH

How then does one explain how a young man to prior to his arrest in this case had
never engaged in a single act of defiance against authority or any act of criminal or
antisocial conduct end up before Your Honor today.

 

Like many young Muslims in Western developed nations, Mr. Zazi was very
effectively guilt-tripped by the bellicose rhetoric of radical cleric Anwar Al-Awlaki, who
preyed upon and influenced young men to want to propel themselves to armed assistance
to less fortunate Muslims abroad in order to fulfill their religious commitment

Through the years of representing Mr. Najibullah Zazi and discussion(s) with him
of his life before and after his arrest, he has unequivocally disavowed radical lslam in no
uncertain terms.

“Looking back, l can now see how gullible l was, actually living in an imaginary
world. Your Honor, the uneducated are perfect targets for the unscrupulous They make
historical facts and contort them to their agenda, to motivate people to their will. My lack
of education and the reverence surrounding Awlaki, an lslamic scholar, was enough to
cause me to believe. And believe I did, forl nearly took my own life and the lives of
innocents.”

Also while incarcerated he has studied and gleaned the true meaning of lslam.

“Your Honor, the Quran teaches much deeper treatment of fellow l\/luslims and
non-Muslims, that being equal treatment . . Your Honor, living this day with knowledge
that l did not take the life of an innocent person is a great reward. My greater and new
found understand of the Quran teaches one who kills an innocent or a believer, ‘will not

even smell the fragrance of paradise.”’ _

 

Case 1:09-cr-00663-R.]D-SI\/|G Document 73 Filed O5/O2/19 Page 7 of 7 Page|D #: 256

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CONCLUSION

While Najibullah Zazi’s participation in these offense(s) was so clearly and
undeniably inexcusable, he accepts full responsibility for his actions

Your Honor is asked to consider a downward departure in this case that reflects
Najibullah Zazi’s extraordinary and critical assistance, as well as certain actions that
reflect his remorse and regret at commission of the offenses The Government’s twenty-
five (25) page letter truly indicates how substantial his cooperation was

Mr. Zazi respectfully asks Your Honor to take all these factors into account in
fashioning a sentence that reflects justice and compassion.

 

For the foregoing reasons, the defendant seeks to join the Government in their
request for a downward departure of his sentence from the United States Sentencing
Guidelines and respectfully asks Your l-lonor to fashion a sentence that reflects Mr.
Zazi’s extraordinary cooperation with the United States Govemment.

We ask the Court consider sentencing Mr. Zazi to a period of incarceration often
(10) years with an appropriate period of Supervised Release.

We stand ready to assist the Court with any information that it requires and thank
the Court for its attention to this memorandum

Because of the nature of this request, l respectfully request that this letter be filed
under seal.

 

Encls

cc: Assistant United States Attorney: Douglas Pravda (by email)
Senior United States Probation Officer: Shayna Bryant (by email)

